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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

RED ROCK ANALYTICS LLC,
              Plaintiff,
                                         Case No. 6:21-cv-00346-ADA

  v.
                                         JURY TRIAL DEMANDED

APPLE INC., QUALCOMM, INC.
              Defendant.


   DEFENDANTS’ RESPONSE TO PLAINTIFF’S SECOND SUPPLEMENTAL
         BRIEF (DKT. 153) REGARDING DEFENDANTS’ MOTION
   TO TRANSFER VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA
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       Red Rock’s (“RRA”) latest brief lends no support to its motion to transfer arguments.

       The Federal Circuit is clear that where, as here, the parties are not engaged in product

competition and the plaintiff is not threatened in the market in a way that might add urgency to

case resolution, “it [is] a clear abuse of discretion to accord [the court congestion] factor any

weight.” In re Google LLC, 58 F.4th 1379, 1383 (Fed. Cir. 2023) (“Google”). Google is binding

Federal Circuit law that this Court has appropriately followed in subsequent transfer decisions.

See, e.g., Atlas Global Techs. LLC v. OnePlus Techs. (Shenzhen) Co., Ltd., No. 6:21-cv-1217-

ADA, Dkt. 72 at 22 (Mar. 10, 2023); SVV Tech. Innovations, Inc. v. Asustek Computer Inc., No.

6:22-CV-311-ADA, 2023 WL 2764761, at *10–11 (W.D. Tex. Apr. 3, 2023). RRA’s attempts to

dissuade the Court from adhering to Federal Circuit precedent is wrong for three reasons.

       First, RRA’s reliance on three, one-page non-precedential Federal Circuit decisions is

misguided. 1 Contrary to RRA’s suggestion (RRA Br. at 1), these decisions were not based on the

court congestion factor. Each decision merely summarizes the findings of the district court and

concludes that the petitioner failed to overcome the high burden for mandamus. In re TP-Link

Techs. Co., Ltd., No. 2023-123, 2023 WL 2881314, at *1 (Fed. Cir. Apr. 11, 2023) (noting lack of

defendant presence or witnesses in transferee forum among the reasons for denying petition); In

re Google LLC, No. 2023-112, 2023 WL 2359714, at *1 (Fed. Cir. Mar. 6, 2023) (considering

record regarding multiple factors, including relevant witness location); In re Roku, Inc., No. 2023-

114, 2023 WL 2609122, at *1 (Fed. Cir. Mar. 23, 2023) (“Here, the district court considered the

relevant factors.”). These decisions do not provide additional legal analysis or guidance, much

less regarding the court congestion factor, and in any event cannot override Google’s clear and




1
  A “non-precedential” decision is “one determined by the panel issuing it as not adding
significantly to the body of law.” Fed. Cir. R. 32.1(b).
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binding precedent.    See Fed. Cir. R. 32.1(d) (“The court … will not give one of its own

nonprecedential dispositions the effect of binding precedent.”).

       Second, RRA’s renewed attempt to misconstrue In re Planned Parenthood Fed’n of Am.,

Inc., 52 F.4th 625 (5th Cir. 2022), also fails. See also Dkt. 137-1 (RRA Suppl. Br.) (urging the

same interpretation of Planned Parenthood as here). RRA argues that Planned Parenthood is

inconsistent with Google because the Fifth Circuit gave weight to the court congestion factor even

in the absence of “product competition.” However, Google’s analysis relates to considerations

unique to patent cases, such as the current action, whereas Planned Parenthood was not a patent

case. Google, 58 F.4th at 1383 (“It appears undisputed that Jawbone … is not threatened in the

market in a way that, in other patent cases, might add urgency to case resolution and give some

significance to the time-to-trial difference.”) (emphasis added). As such, there is no tension

between Planned Parenthood and Google that needs to be reconciled. Google is binding in this

patent action. Id. (“While we defer to the district court’s assessment of the average time to trial

data, in this case it was a clear abuse of discretion to accord this factor any weight.”) (citations

omitted).

       Lastly, RRA repeats that it submitted expert testimony that quantifies why the Court should

“accord significance” to the court congestion factor. However, Defendants have already rebutted

Mr. Weinstein’s entirely speculative and unreliable “opportunity costs” contention and provided

other reasons that congestion does not weigh against transfer. Dkt. 101 at 36-37.

       Therefore, under clear and binding Federal Circuit precedent, the “court congestion” factor

in this patent case must be neutral because the parties are not market competitors. Google, 58

F.4th at 1383.
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Dated: April 28, 2023                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of the foregoing document via electronic mail on

April 28, 2023.

                                                           /s/ Steven J. Wingard
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